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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                    3:03cr101/LAC
                                                       3:04cv458/LAC/MD

MARCO TOMAS MENDEZ, SR.


                         REPORT AND RECOMMENDATION

       This matter is before the court upon a motion to vacate, set aside, or correct
sentence pursuant to 28 U.S.C. §2255 (doc. 159 & 160). The government has filed a
response (doc. 167) and the defendant has filed a reply (doc. 172). The matter is referred
to the undersigned magistrate judge for report and recommendation pursuant to 28 U.S.C.
§ 636 and N.D. Fla. Loc. R. 72.2(B). After a careful review of the record and the
arguments presented, it is the opinion of the undersigned that defendant has not raised
any issue requiring an evidentiary hearing, Rules Governing Section 2255 Cases 8(a) and
(b), and that the motion should be denied.


I. BACKGROUND
       Defendant was charged in a two count indictment with conspiracy to distribute five
or more kilograms of cocaine and possession with intent to distribute in excess of 500
grams of cocaine. He pleaded guilty pursuant to a plea and cooperation agreement on
September 29, 2003, and on December 29, 2003 he was sentenced to a term of 109
months imprisonment and four years of supervised release. (Doc. 122). Although the
minimum mandatory sentence was not applicable because less than five kilograms of
cocaine were attributed to defendant for sentencing purposes, his sentence was adjusted
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under § 2D1.1 of the sentencing guidelines for his possession of a dangerous weapon, and
under § 3B1.1(b) for his role in the offense. Defendant did not appeal.
        In the instant motion, defendant raises two grounds for relief. He contends, relying
on Blakely v. Washington1 and United States v. Booker2 that his sentence violates the Sixth
Amendment to the Constitution, and that his prison designation two regions away from his
home state violates his constitutional rights.


II. LEGAL ANALYSIS
        Because collateral review is not a substitute for direct appeal, the grounds for
collateral attack on final judgments pursuant to § 2255 are extremely limited. A prisoner
is entitled to relief under section 2255 if the court imposed a sentence that (1) violated the
Constitution or laws of the United States, (2) exceeded its jurisdiction, (3) exceeded the
maximum authorized by law or (4) is otherwise subject to collateral attack. 28 U.S.C. §
2255; United States v. Phillips, 225 F.3d 1198, 1199 (11th Cir. 2000); United States v.
Walker, 198 F.3d 811, 813 n.5 (11th Cir. 1999). As recently explained by the Eleventh
Circuit, “[r]elief under 28 U.S.C. § 2255 ‘is reserved for transgressions of constitutional
rights and for that narrow compass of other injury that could not have been raised in direct
appeal and would, if condoned, result in a complete miscarriage of justice.’” Lynn v. United
States, 365 F.3d 1225, 1232 (11th Cir. 2004) (citations omitted). “[A] non-constitutional
error that may justify reversal on direct appeal does not generally support a collateral
attack on a final judgment, unless the error (1) could not have been raised on direct appeal
and (2) would, if condoned, result in a complete miscarriage of justice.” Lynn, 365 F.3d at
1232-33 (citations omitted); Hill v. United States, 368 U.S. 424, 428, 82 S.Ct. 468, 7
L.Ed.2d 417 (1962) (error of law does not provide basis for collateral attack unless claimed
error constituted a “fundamental defect which inherently results in a complete miscarriage
of justice.”). The “fundamental miscarriage of justice” exception recognized in Murray v.


        1
            Blakely v. Washington, ____ U.S. ____ , 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004 ).

        2
            Un ited States v . Boo ker, 125 S.C t. 738, 2005 W L 5010 8 (2005).

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Carrier, 477 U.S. 478, 496, 106 S. Ct. 2678, 2649, 91 L. Ed. 2d 397 (1986), provides that
it must be shown that the alleged constitutional violation “has probably resulted in the
conviction of one who is actually innocent. . . .”


A. Sentencing Claim
        In defendant’s first claim for relief, he maintains that his sentence violated the Fifth
and Sixth amendments of the United States Constitution because his sentence was based
on guidelines determinations that were not submitted to a jury and found beyond a
reasonable doubt.
        In the seminal case of Apprendi v. New Jersey,3 the Supreme Court held that,
“[o]ther than the fact of a prior conviction, any fact that increases the penalty for a crime
beyond the prescribed statutory maximum must be submitted to a jury, and proved beyond
a reasonable doubt.” 530 U.S. at 490, 120 S.Ct. at 2362-63. See also Ring v. Arizona,
536 U.S. 584, 589, 122 S.Ct. 2428, 2432, 153 L.Ed.2d 556 (2002) (concluding under
Apprendi that “[c]apital defendants . . . are entitled to a jury determination of any fact on
which the legislature conditions an increase in their maximum punishment.”).                      Since
Apprendi was decided, the Supreme Court has decided two cases that relate to federal
sentencing, Blakely v. Washington,4 which was decided before defendant submitted his §
2255 motion and upon which he relies, and United States v. Booker, 5 which was decided
afterwards, but which is applicable to his claim.
        As clarified in Blakely:
        the “statutory maximum” for Apprendi purposes is the maximum sentence a
        judge may impose solely on the basis of the facts reflected in the jury verdict
        or admitted by the defendant. See Ring, supra, 536 U.S. at 602, 122 S.Ct.
        at 2428 (“‘the maximum he would receive if punished according to the facts
        reflected in the jury verdict alone’” (quoting Apprendi, supra, 503 U.S. at 483,
        120 S.Ct. at 2348)) . . . . In other words, the relevant “statutory maximum”

        3
            Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348, 2362 -63, 147 L.Ed .2d 435 (200 0).

        4
            Blakely v. Washington, ____ U.S. ____ , 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004 ).

        5
            Un ited States v . Boo ker, 125 S.C t. 738, 2005 W L 5010 8 (2005).

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        is not the maximum sentence a judge may impose after finding additional
        facts, but the maximum he may impose without any additional findings.

124 S.Ct. at 2537-38 (emphasis in original, some citations omitted); see also In re Dean,
375 F.3d 1287, 1290 (11th Cir. 2004) (quoting Blakely).
        In United States v. Booker, 125 S.Ct. 738, 2005 WL 50108 (2005), the Supreme
Court extended its holding in Blakely to the Sentencing Guidelines, holding that the
mandatory nature of the federal guidelines rendered them incompatible with the Sixth
Amendment’s guarantee to the right to a jury trial. This does not mean, however, that
Booker can be applied to cases in which the conviction is final, a fact which is crucial to the
court’s consideration of the instant motion. Both language within Booker, discussed infra,
and Supreme Court precedent indicate otherwise.
        In Duncan v. Louisiana, 391 U.S. 145, 88 S.Ct. 1444, 20 L.Ed.2d 491 (1968) the
Supreme Court held that the Sixth Amendment’s guarantee of the right to a jury trial
applied to the states. In DeStephano v. Woods, 392 U.S. 631, 88 S.Ct. 2093, 20 L.Ed.2d
1308 (1968) the Court held that Duncan would not be given retroactive application - that
it applied only to those cases that were not final at the time it was decided, and that it did
not apply to cases on collateral attack. The Court reasoned that the right to a jury trial was
fundamental to our system of justice, but that a trial without a jury would not necessarily
result in an inaccurate verdict. Therefore, it would not be necessary to grant a new trial to
every person convicted without a jury.
        In Ring v. Arizona, 536 U.S. 584, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002) the
Supreme Court held that only a jury, not a judge, could make findings on the aggravating
factors necessary to invoke the death penalty. In Schriro v. Summerlin, __ U.S. __, 124
S.Ct. 2519, 159 L.Ed.2d 442 (2004) the Court held that Ring applied only to those cases
that were not final at the time it was decided, and that it did not apply to cases on collateral
attack. The Court reasoned that the rule announced in Ring was a procedural rule, not a
substantive one, because it did not define an element of a crime. Rather, it determined the
manner in which fact finding is done. The Schriro Court relied on DeStephano, supra,
noting that “[i]f . . . a trial held entirely without a jury was not impermissibly inaccurate, it is

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hard to see how a trial in which a judge finds only aggravating factors could be.” 124 S.Ct.
at 2526.
        This is instructive on the application of Booker. The Booker Court expressly noted
that its holding was to be applied retroactively to “all cases ... pending on direct review or
not yet final.”      Booker at *29.        It did not announce that the new rule would apply
retroactively for cases on collateral attack, such as this one. This reasoning necessarily
follows from DeStephano and Schriro. In those cases the Court held that it was not
impermissibly inaccurate to conduct a criminal trial entirely without a jury, or for a judge
alone to find aggravating factors necessary to trigger a death sentence. Based on those
holdings, it is difficult to conclude that a hearing in which a judge finds only aggravating
factors that result in an increased sentence could be impermissibly inaccurate. See
Schriro, 124 S.Ct. at 2526.
        Moreover, the Booker Court cited prior precedent with approval, stating that “[T]he
constitutional safeguards that figure in our analysis concern not the identity of the elements
defining criminal liability but only the required procedures for finding the facts that
determine the maximum permissible punishment.”               Booker, 2005 WL 50108 at *14
(citations omitted). The significance of this is that unlike substantive rules, new rules of
procedure generally are not retroactive. Schriro v. Summerlin, __ U.S. __, 124 S.Ct. 2519,
2523, 2526, 159 L.Ed.2d 442 (2004) (“[I]t does not follow that, when a criminal defendant
has had a full trial and one round of appeals in which the [prosecution] faithfully applied the
Constitution as we understood it at the time, he may nevertheless continue to litigate his
claims indefinitely in hopes that we will one day have a change of heart.”).
        Finally, the Eleventh Circuit has concluded that neither Booker nor Blakely applies
retroactively to cases on collateral review. Varela v. United States, ___ F.3d ___, 2005
WL 367095 (11th Cir. 2005); see also In re Anderson, ___ F.3d ___, 2005 WL 123923 (11th
Cir. 2005) (holding that only the Supreme Court can make a new rule retroactive on
collateral review, and that it must do so explicitly). Since neither Blakely nor Booker’s
effect on sentencing guidelines cases is retroactive on collateral review, it is not applicable
to this § 2255 motion, and defendant is not entitled to relief on this ground.

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B. Facility designation claim
        Defendant states that after sentencing, he was designated by the Bureau of Prisons
to FCI Fort Dix, in Fort Dix, New Jersey, a facility which is “two regions out of his home
state.” He contends that he should have been designated to the Southeast Region.
Defendant concedes that pursuant to 18 U.S.C. § 3625, the BOP designation decision is
exempt from judicial review for an abuse of discretion under the Administrative Procedures
Act, but nonetheless urges the court to recommend a designation in the Southeast region.
        Although in describing this claim for relief, defendant states that the designation
violates his constitutional rights, his argument contains no reference to a constitutional
provision that allegedly has been violated. Clearly, his designation has nothing to do with
the validity of his sentence. A challenge to the continuation of an initially valid confinement
or the manner in which a sentence is executed is properly filed pursuant to 28 U.S.C.
§2241. See Chambers v. United States, 106 F.3d 472, 474-75 (2d Cir.1997) (articulating
instances where a federal prisoner may properly file a § 2241 petition). It does not fall
within any of the grounds for collateral attack enumerated above. Therefore, this claim is
not cognizable under § 28 U.S.C. § 2255, and he is not entitled to relief.


        Based on the foregoing, it is respectfully RECOMMENDED:
        The motion to vacate, set aside, or correct sentence (doc. 159) be DENIED.
        At Pensacola, Florida, this 18th day of April, 2005.



                                            /s/   Miles Davis
                                                  MILES DAVIS
                                                  UNITED STATES MAGISTRATE JUDGE




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                                       NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed within ten
days after being served a copy thereof. A copy of objections shall be served upon all other
parties. Failure to object may limit the scope of appellate review of factual findings. See
28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




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